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B I (Official Form 1)( 1/08)




 Name of Debtor (if individual, enter Last, First, Middle):~(AJ        &-1'1   1    (j/l-ttJ JlJI c....   Name of Joint Debtor (Spouse) (Last, First, Middle):

 All Other Names used by the Debtor in the last 8 years                                                   All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                              (include married, maiden, and trade names):
                                                                    NDrJe
 last four digits of Soc. Sec. or Indvidual-Taxpayer 1.0. (\TIN) No./Compiete EIN                         Last four digits of Soc. Sec. or Indvidual-Taxpayer 1.0. (\TIN) No.lComplete EIN
 (if more than one, state all):                               qJ
                                                               I0                                         (if more than one, state all):


 Street   Atrr      Oft:1~1°W~ ;~eet, Cityflf State):                                                     Street Address of Joint Debtor (No. and Street, City, and State):



             H~-'(L ~,ltl(,                        Nt- 1               rz,IPCODE                 I                                                                      rz,IPCODE           I
 County of Residence or of the Principal Place of Bus mess:                                               County of Residence or of the Principal Place of Business:

 Mailing Address of Debtor (if different from street address):                                            Mailing Address of Joint Debtor (if different from street address):



                                                                       rz,IPCODE                 I                                                                      rz,IPCODE       J
                                                                                                                             llY 11                                   rz,IPCODE             I
                        Type of Debtor                                '    Nature of Business                       I                  Chapter of Bankruptcy Code Under Which
                    (Fonn of Organization)                     (Check one box.)                                                           the Petition is Filed (Check one box.)
                       (Check one box.)
                                                               D    Health Care Business                                    D     Chapter 7           D     Chapter 15 Petition for
  ~;ndividual (includes Joint Debtors)                         D    Single Asset Real Estate as defined in                  D     Chapter 9                 Recognition of a Foreign
         See Exhibit D on page 2 olthislorm.                        II U.S.C. § 101(51B)                                    D     Chapter II                Main Proceeding
 D                                                             D Railroad                                                                             D
 D
 D
         Corporation (includes LLC and LLP)
         Partnership
         Other (If debtor is not one of the above entities,
                                                               D Stockbroker
                                                               D Commodity Broker
                                                                                                                            flf   Chapter 12
                                                                                                                                  Chapter J3
                                                                                                                                                            Chapter 15 Petition for
                                                                                                                                                            Recognition of a Foreign
                                                                                                                                                            Nonmain Proceeding
         check this box and state type of entity below.)        o /Clearing Bank
                                                               [Q" Other                                                                            Nature of Debts
                                                                                                                                                    (Check one box.)
                                                                              Tax-Exempt Entity
                                                                           (Check box, if applicable.)           n:;Ybebts are primarily consumer    D Debts are primarily
                                                                                                                     debts, defined in II U.S.C.         business debts.
                                                               D        Debtor is a tax-exempt organization          § 101(8) as "incurred by an
                                                                        under Title 26 of the United States          individual primarily for a
                                                                        Code (the Internal Revenue Code).            personal, family, or house­
                                                                                                                     hold purpose."
                                   Filing Fee (Check one box.)                                                                  Chapter II Debtors
                                                                                                   Check one box:
  D       Full Filing Fee attached.                                                                D Debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D).
  ~ Filing Fee to be paid in installments (applicable to individuals only).       Must attach             D     Debtor is not a small business debtor as defined in II U.S.C. § 101(510).
          signed application for the court's consideration certifYing that the debtor is
          unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                   Check if:
                                                                                                          D Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
  D       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        insiders or affiliates) are less than $2,190,000.
          attach signed application for the court's consideration. See Official Form 3B.
                                                                                                          Check all applicable boxes:
                                                                                                          D   A plan is being filed with this petition.
                                                                                                          D   Acceptances of the plan were sol ieited prepetition from one or more classes
                                                                                                              of creditors, in accordance with II U.S.c. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
            Debtor estimates that funds will be available for distribution to unsecured creditors.
            Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
            distribution to unsecured creditors.
 Esll\hated Number of Creditors
  ~             D              D               D              D                    D                  D                 D                D
  1-49          50-99          100-199         200-999        1,000­               5,001­            10,001­            25,001­          50,001­          ('Over   c::'
                                                                                                                                                                   ~.J
                                                              5,000                10,000            25,000             50,000           100,000          ;:~Oo,Ooo-
                                                                                                                                                          I't,    _

  ~atedAots
 $0 to          $50,001 to
                               D
                               $100,001 to
                                               D
                                               $500,001
                                                              D
                                                              $1,000,001
                                                                                   D
                                                                                   $10,000,001
                                                                                                     D
                                                                                                     $50,000,001
                                                                                                                        D
                                                                                                                        $100,000,001
                                                                                                                                         D
                                                                                                                                         $500,000,001 l
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                                                                                                                                                          riw
                                                                                                                                                            re than
 $50,000        $100,000       $500,000        to $1          to $10               to $50            to $100            to $500          to $1 billion :·$Ibillioll.-O
                                                                                                                                                        '",         ~.
                                               million        million              million           million            million
 Estimated Liabilities
 D
 SO to
                D
                $50,001 to
                               l1'
                               $100,001 to
                                               D
                                               S500,001
                                                              D
                                                              $1,000,001
                                                                                   D
                                                                                   $10,000,001
                                                                                                     D
                                                                                                     $50,000,001
                                                                                                                        D
                                                                                                                        $100.000,001
                                                                                                                                         D
                                                                                                                                         S5OO,000,001
                                                                                                                                                           D
                                                                                                                                                                   CO

                                                                                                                                                           More than
 $50,000        $100,000       $500,000        to $1          to $10               to $50            to $100            to $500          to $1 billion     $1 billion
                                               million        million              million           million            million
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B ljOfficial Form I) (1/08)                                                                                                                                              Paee2
 Voluntary Petition
ffhis page must be completed andfiled in every case.)
                                                                                               Name of Debtor(s):   .1M f<J Itt     L
                                                                                                                                               SiN ~(-l
                                     All Prior Bankruptcy Cases Filed Within Last 8 Vears {Ifmore than two, attach additional sheet.
 Location                                                                              Case Number:                                             Date Filed:
 Where Filed:
 Location                                                                                      Case Number:                                     Date Filed:
 Where Filed:
                      Pendinl! Bankruptcy Case Filed by IIny Spouse, Partner, or Affiliate of this Debtor (If more than one attach additional sheet.)
 Name of Debtor:                                                                        Case Number:                                    Date Filed:

 District:                                                                                     Relationship:                                    Judge:

                                         Exhibit A                                                                               Exhibit B
                                                                                                                 (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e,g" forms 10K and                             whose debts are primarily consumer debts.)
 JOQ) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter II,)            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                               12, or 13 of title II, United States Code, and have explained the relief
                                                                                               available under each such chapter. I further certify that I have delivered to the
                                                                                               debtor the notice required by II U.S.C. § 342(b).

 0       Exhibit A is attached and made a part of this petition.                               X
                                                                                                   Signature of Attorney for Debtor(s)       (Date)

                                                                                    ExhibitC

 Does the debtor own or have possession ofany property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 0       Yes, and Exhibit C is attached and made a part of this petition.

 ~NO.

                                                                                   Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ~Exhibit D completed and signed by the debtor is attached and made a part ofthis petition.
 If this is a joint petition:

     0       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                   Information Regarding the Debtor - Venue

              ~
                                                                            (Check any applicable box.)
                      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                      preceding the date of this petition or for a longer part ofsuch 180 days than in any other District.

              0       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

              0       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                      has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                      this District, or the interests ofthe parties will be served in regard to the relief sought in this District.


                                                Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

              0          Landlord has a judgment against the debtor for possession of debtor's residence, (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)



                                                                                              (Address oflandlord)

              0         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                        entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             0          Debtor has included with this petition the deposit with the court ofany rent that would become due during the 30-day period after the
                        filing of the petition,

             0          Debtor certifies that helshe has served the Landlord with this certification. (II U.S.C. § 362(1».
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                                                                                                                                                                  Pa e3
                                                                                            Name ofDebtor(s):     ::JItf-fi.;' M   t


                    Slgn.ture(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, II, 12
                                                                                            (Check only one box.)
or 13 of title II, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.
[!fno attorney represents me and no bankruptcy petition preparer signs the petition]
                                                                                            o    I request relief in accordance with chapter 15 of title II, United States Code.
                                                                                                 Certified copies of the documents required by II U.S.C. § 1515 are attached.
have obtained and read the notice required by II U.S.c. § 342(b).

I request relief in accordance with the chapter of title II, United States Code,
                                                                                            o   Pursuant to II U.S.C. § 1511, I request relief in accordance with the
                                                                                                chapter oftitle I J specified in this petition. A certified copy ofthe
specified in this petition.                                                                      order granting recognition of the foreign main proceeding is attached.

x                                                                                           x
                                                                                                (Signature of Foreign Representative)

x
     Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)     e:r   iI   (J 1
                                                                                                 Date
     Date
                               Signature of Attorney·                                                       Signature of Non-Attorney Bankruptcy Petition Preparer

x                                                                                           I declare under penalty of perjury that: (I) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in II U.S.c. § 110; (2) I prepared this document for compensation and have
                                                                                            provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under II U.S.C. §§ IIO(b), IIO(h), and 342(b); and, (3) if rules or
                                                                                            guidelines have been promulgated pursuant to II U.S.C. § I100h) setting a maximum
     Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                            notice of the maximum amount before preparing any document for filing for a debtor
                                                                                            or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                            attached.


     Telephone Number                                                                           Printed Name and titl~it'z9y, Of~up~~n Preparer

                                                                                                Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                state the Social·Security number of the officer, principal, responsible person or
*In a case in which § 707(bX4)(D) applies, this signature also constitutes a                    partner of the bankrup.tcy petition preparer.) "equired by II U.S.C. § 110.)
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.                                                                          I   r      1'1,      lAIN f)          f<...tA

                  Signature of Debtor (CorporationlPartnership)
                                                                                                Address           N.                                         ~         I ( 1\7
I declare under penalty of perjury that the information provided in this petition is true   x
and correct, and that I have been authorized to file this petition on behalf of the
debtor.
                                                                                                Date
The debtor requests the relief in accordance with the chapter oftitle II, United States
Code, specified in this petition.                                                           Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                            partner whose Social·Security number is provided above.
x
     Signature of Authorized Individual
                                                                                            Names and Social-Security numbers of all other individuals who prepared or assisted
     Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                            individual.
     Title of Authorized Individual
                                                                                            If more than one person prepared this document, attach additional sheets conforming
     Date                                                                                   to the appropriate official form fur each person.

                                                                                            A bankruptcy petition preparer 's failure to comply with the provisions oftitle 1/ and
                                                                                            the Federal Rules ofBankruptcy Procedure may result in fines or imprisonment or
                                                                                            both. 1/ U.S.c. I/O; 18 U.S.C. 156.
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BID (Official Form 10 Exhibit D) (12/08)



                        UNITED STATES BANKRUPTCY COURT
                                           Eastern District of New York



                                                                              Case No.   0q - 'lt61? l   -7-"\C
                                                                                          (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                      CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one ofthe five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors'
collection activities.

       Every individual debtor mustfile this Exhibit D. If a joint petition is.filed, each spouse
must complete andfile a separate Exhibit D. Check one ofthe five statements below and attach
any documents as directed.

          1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy ofany debt repayment plan
developed through the agency.

        ~ Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You mustfile a copy ofa cert(ficate from the agency describing the
services provided to you and a copy ofany debt repayment plan developed through the agency
no later than 15 days after your bankruptcy case is.filed.
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B lD (Official Form I, Exh. 0)(12/08) Cont                                                              Page 2


           3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the five days from the time I made my request, and the
following exigent circumstances merit a temporary waiver ofthe credit counseling requirement
so I can file my bankruptcy case now. {Summarize exi~ent circumstances here.'




       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

          a
          4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.} [Must be accompanied by a motion for determination by the court.}

                  o Incapacity. (Defined in II U.S.c. § I09(h)(4) as impaired by reason of menial
          illness or mental deficiency so as to be incapable of realizing and making rational
          decisions with respect to financial responsibilities.);
                  o Disability. (Defined in II U.S.c. § I09(h)(4) as physically impaired to the
          extent of being unable, after reasonable effort, to participate in a credit counseling
          briefing in person, by telephone, or through the Internet.);
                     Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.s.c. § 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                        Signature of Debtor:          '}'   ~
                                        Date:         '1   t'l-   1
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B6A (Official F?,-6A) (12/07)

              J
I n~ ________aNAl t.
             ~~_________     (.,     ~r-J6'
                       ~~______________                                                                 Case No. ______~:_::__ ___:_-----­
                    Debtor                                                                                              (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co­
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an "H,"
"W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." (fthe debtor holds no interest in real property, write "None" under
"Description and Location of Property."

    Do not include inte~sts in executory contracts and       unexpi~d   leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    lfan entity claims to have a lien or hold a secured interest in any property, state theamountofthe secured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

   If the debtor is an individual or ifajoint petition is filed, state the amount of any exemption claimed in the property only in Schedule C· Property
Claimed as Exempt.




             DESCRIPTION AND
               LOCATION OF                           NATURE OF DEBTOR'S              !~           CURRENT VALUE
                                                                                                    OF DEBTOR'S
                                                                                                                                     AMOUNT OF
                                                                                                                                      SECURED



                                                                                     i!
                PROPERTY                            INTEREST IN PROPERTY                            INTEREST IN                        CLAIM
                                                                                                PROPERTY, WITHOUT
                                                                                                  DEDUCTING ANY
                                                                                                  SECURED CLAIM
                                                                                     :a:::
                                                                                                   OR EXEMPTION

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                      tIl{ ;




                                                                                Total'"             qoo, (ll tJ
                                                                                (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/07)

1n re       .;:I'M. V/tfl <l.rf0 b l/                                                                  Case No. _ _ _~~_ _ _ __
                        Debtor                                                                                       (Uknown)


                                           SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property ofthe debtor ofwhatever kind. Ifthe debtor has no property in one or more ofthe categories,
place an "x" in the appropriate position in the column labeled "None." Ifadditional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number ofthe category. Ifthe debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C • Property Claimed as Exempt.

        Do not list interests in executory contrads and unexpired leases on this schedule. List them in Schedule G • Executory Contracts and
Unexpired Leases.

Tfthe property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
.. A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. IOO7(m).




          TYPE OF PROPERTY
                                                     N
                                                     0
                                                     N
                                                                 DESCRIPTION AND LOCATION
                                                                       OF PROPERTY
                                                                                                                •~I        CURRENT VALUE OF
                                                                                                                           DEBTOR'S INTEREST
                                                                                                                           IN PROPERTY, WITH·
                                                                                                                           OUT DEDUCTING ANY
                                                                                                                             SECURED CLAIM
                                                     E                                                          Is            OR EXEMPTION

  I. Cash on hand.                                                                                                                 {~()
 2. Checking. savings or other finan­
 cial accounts, certificates ofdeposit
 or shares in banks, savings and loan,
 thrift, building and loan, and home­                N
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

  3. Security deposits with public util­
  ities, telephone companies, land­                  N
  lords, and others.

  4. Household goods and furnishings,
  including audio, video, and computer                                                                                              5b 0"
  equipment.

  5. Books; pictures and other art
  objects; antiques; stamp, coin,
  record, tape, compact disc, and other
                                                                                                                                       (0 00
  collections or collectibles.

 6. Wearing apparel.                                                                                                                 ~CO
 7. Furs and jewelry.                                N
                                                 I

 8. Firearms and sports, photo­
 graphic, and other hobby equipment.

 9. Interests in insurance policies.
 Name insurance company of each
 policy and itemize surrender or
 refund value ofeach.

 10. Annuities. Itemize and name
 each issuer.

 II. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(\) or under
 a qual ified State tuition plan as defined in
 26 U.S.C. § 529(b)(l). Give particulars.
 (File separately the record(s) of any such      IV
 interest(s). II US.C. § S21(c).)
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B 6B (Official Fonn 6B) (12107) :- Cont.


                   (fPrtf.Jft1
                     l                     ~rJ~fl
Inre ______________________________________....,                                           Case No. __________________
                        Debtor                                                                          (If known)


                                            SCHEDULEB-PERSONALPROPERTY
                                                                (Continuation Sheet)



           TYPE OF PROPERTY
                                                    N
                                                    0
                                                    N
                                                                DESCRIPTION AND LOCATION
                                                                      OF PROPERTY
                                                                                                •!I    CURRENT VALUE OF
                                                                                                       DEBTOR'S INTEREST
                                                                                                       IN PROPERTY, WITH­
                                                                                                       OUT DEDUCTING ANY
                                                                                                         SECURED CLAIM
                                                    E                                           II!i      OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.
                                                   fJ
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.

 15. Government and corporate bonds
 and other negotiable and non­
 negotiable instruments.

  16. Accounts receivable.

 17. Alimony, maintenance, support,
 and property settlements to which the
 debtor is or may be entitled. Give
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give
 particulars.

 19, Equitable or future interests,life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than
 those listed in Schedule A - Real
 Property.

  20. Contingent and noncontingent
  interests in estate ofa decedent, death
  benefit plan, life insurance policy, or trust,

 21, Other contingent and unliquidated
 claims ofevery nature, including tax
 refunds, counterclaims ofthe debtor, and
 rights to setoff claims, Give estimated
 value ofeach,
                                                   Iv
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B 6B (Official Fonn 6B) (12/07) •• Cont.

In re _ _        ~t-.d/J.-.:M.;. . ; . rJ-.:. ;. A1_L_ _~=-:..tJ_(;..:..;tJ_ _ ___                                    Case No. _ _ _ _ _ _ _ _ _ __
                   .... Debtor                                                                                                           (If known)

                                            SCHEDULEB-PERSONALPROPERTY
                                                                                 (Continuation Sheet)




                                                       N
                                                                                                                                I        CURRENT VALUE OF
                                                                                                                                         DEBTOR'S INTEREST
                                                                                                                                         IN PROPERTY, WITH­
          TYPE OF PROPERTY                             0                    DESCRIPTION AND LOCATION
                                                                                                                                it       OUT DEDUCTING ANY
                                                       N
                                                       E
                                                                                  OF PROPERTY
                                                                                                                                Is         SECURED CLAIM
                                                                                                                                            OR EXEMPTION


 22. Patents, copyrights, and other
 intellectual property. Give particulars.
                                                       ~
 23. Licenses, fmnchises, and other general
 intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.s.C.
  § 10 1(41 A» prov ided to the debtor by
 individuals in connection with obtaining a
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,
 and other vehicles and accessories.

 26. Boats, motors, and accessories.

 27. Aircmft and accessories.

 28. Office equipment, furnishings,
 and supplies.


 29. Machinery, fixtures, equipment,
 and supplies used in business.


  30. Inventory.


  31. Animals.


 32. Crops - growing or harvested.
 Give particulars.


 33. Fanning equipment and implements.


 34. Pann supplies, chemicals, and feed.

 35. Other personal property ohny kind
 not already listed. Itemize.                        ~
                                                                                          continuation sheets attached     Total»    $       d-\l>O
                                                                                     (Include amounts from any contmuatlon
                                                                                     sheets attached. Report total also on
                                                                                                 Summary of Schedules.)
               Case 8-09-76782-reg               Doc 1       Filed 09/11/09      Entered 09/11/09 09:43:30



B 6C (Official Fonn 6C) (12107)

        .t/_M-rJnl{
InR ____~~  ,~       S'fVGrll
             _ __________ ~_________,                                                       CaseNo. _ _~~_~_ __
                     Debtor                                                                             (It known)


                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:    o   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                        $136,875.
 o  11 U.S.C. § S22(b)(2)
 o  11 U.S.C. § S22(b)(3)




                                                                                                                  CURRENT
                                              SPECIFY LAW                       VALUE OF                     VALUE OF PROPERTY
   DESCRIPTION OF PROPERTY                  PROVIDING EACH                      CLAIMED                      WITHOUT DEDUCTING
                                               EXEMPTION                       EXEMPTION                         EXEMPTION
                                                      f

                                              ~ J). \.h Kt-)                  <)--Oh ~< 7" /.1
      J-~1(1              J-<hn
                  Case 8-09-76782-reg                Doc 1         Filed 09/11/09            Entered 09/11/09 09:43:30




B6D (Official Form 6D) (1W>
                In re            :J
                          ftt(\J Il, (                                                          Ca~No.    ___________________________
                                     Debtor                                                                               (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property ofthe debtor as ofthe date of tiling of the petition. The complete account number ofany account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided ifthe debtor chooses to do so. List creditors holding all types ofsecured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. Ifa minor child is the creditor, state the child's initials and the name and
address ofthe child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C. §112
and Fed. R. Bankr. P. lOO7(m). If all secured creditors will not tit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointlY liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If ajoint petition is filed, state whether the husband. wife,
both of them. or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband. Wife,
Joint, or Community."
           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated. place an "X" in the column
labeled "Unliquidated." If the claim is disputed. place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
these three columns.)
           Total the columns labeled "Amount of Claim Without Deducting Value ofCollateral" and "Unsecured Portion. if Any" in the boxes
labeled "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount ofClaim Without Deducting Value
of CoHateraI" also on the Summary of Schedules and, ifthe debtor is an individual with primarily consumer debts, report the total from the column
labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.


           o          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.



  CREDITOR'S NAME AND
                                             t! i:       DATE CLAIM WAS
                                                                                       ~
                                                                                            =
                                                                                            ~
                                                                                                         AMOUNT OF CLAIM               UNSECURED
     MAILING ADDRESS                    I¥
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 INCLUDING ZIP CODE AND
   AN ACCOUNT NUMBER
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                                                               AND                     z    S    S       DEDUCTING VALUE
                                                                                                          OF COLLATERAL
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    (See Instructions Above.)           §    <­            DESCRIPTION                 E=   .... e;
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                                        u    =00          AND VALUE OF                 ~    ~

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ACCOUNTNO.¥S;.s~J-            IY%
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ACCOUNT NO.




                                                         VALUES
ACCOUNT NO.




                                                         VALUES
     continuation sheets                                 Subtotal ..                                  $                            $
--attached                                               (Total of this page)
                                                         Total"
                                                                                                           ~
                                                                                                      $              Oa            $    .sec)
                                                         (Use only on last page)                                  ' , r}                           (lit
                                                                                                      (Report also on Summary of   (If applicable. report
                                                                                                      Schedules.)                  also on Statistical
                                                                                                                                   Summary ofCertain
                                                                                                                                   Liabilities and Related
                                                                                                                                   Data.)
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B 6E (Official Fonn 6E) (12/07)


          In re _ _:l_M_N_Ir_fL_ _          ~_N_G_W_-""                                                Case No._ _ _ _ _ _ _ __
                                Debtor                                                                                      (l(known)

         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, ifany. of all entities holding priority claims against the debtor or the property ofthe
debtor, as of the date ofthe filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address ofthe child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

    Ifany entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. Ifajoint petition is filed, state whether the husband, wife,
both ofthem, or the marital community may be liable on each claim by placing an "H," "W," "]," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        Ifthe claim is contingent, place an "X" in the column labeled "Contingent." Ifthe claim is unliquidated, place an "X" in
the column labeled "Unliquidated." Ifthe claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total ofclaims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total ofall claims listed on this Schedule
E in the box labeled "Total" on the last sheet ofthe completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet ofthe completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary ofCertain Liabilities and Related Data.

~heck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

o   Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative ofsuch a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(I).

o   Extensions oferedit in an involuntary case

 Claims arising in the ordinary course of the debtor'S business or financial affairs after the commencement of the case but before the earlier of the
appointment ofa trustee or the order for relief. 11 U.S.C. § 507(a)(3).

o   Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifYing
independent sales representatives up to $\0,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in II U.S.C. § 507(a)(4).
o   Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition., or the
cessation of business, whichever occurred first, to the extent provided in II U .s.C. § 507(a)(5).
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B 6F (Official   F~F)(I2107)

In re            J .PIN      (1-1 L       <.:11-> t.H
                                       Debtor                                                                Case No. -----""?(.....'....k-n-o-w-n..,..)----­


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits ofany account number, ofall entities holding unsecured claims without priority against
the debtor or the property ofthe debtor, as ofthe date of filing ofthe petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and
address ofthe child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules 0 and E. Ifall creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H· Codebtors. Ifajoint petition is filed, state whether the husband, wife, both ofthem, or the marital
community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint. or Community."

    Ifthe claim is contingent, place an "X" in the column labeled "Contingent." Ifthe claim is unliquidated, place an "X" in the column labeled "Unliquidated."
Ifthe claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one ofthese three columns.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule, Report this total also on the
Summary ofSchedules and, ifthe debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    ~heck th'      IS   boXI'f debtor has no cre d'Itors hid'
                                                          0 mg unsecured cIalms
                                                                            ' to report on th'IS Schedue
                                                                                                       I F.
                                                        uS
      CREDITOR'S NAME,                                  E:I~i:               DATE CLAIM WAS                                 Cl                 AMOUNT OF
      MAILING ADDRESS
                                                ~       ~o~                   INCURRED AND
                                                                                                                   ~        ~                    CLAIM

                                                        ~g
     INCLUDING ZIP CODE,                        E-<                        CONSIDERAnON FOR                                 -<      Cl
                                                                                                                                    ~
                                                ffi                                                                         ~
                                                                                                                   ~
    AND ACCOUNT NUMBER                                                           CLAIM,
          (See inslT'Uctions above.)            g
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                                                                          IF CLAIM IS SUBJECT TO
                                                                             SETOFF, SO STATE,
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                                                                                                                                    Cl


  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




                                                                                                                            Subtotal.      $

 _ _continuation sheets attached                                                                                              Total.       $
                                                                                 (Use only on last page ofthe completed Schedule F.)
                                                             (Report also on Summary of Schedules and, ifapplicable, on the Statistical
                                                                                   Summary ofCertain Liabilities and Related Data.)
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B 60 (Official F~G) (12/07)

In re        J M,.; "   It.
                   Debtor
                                                                                 Case No._ _ _ _ _ _ _ _ __
                                                                                                      (if known)


        SCHEDULE G • EXECUTORY CONTRACTS AND UNEXPIRED LEASES
       Describe all executory contracts of any nature and all unexpired leases ofreal or personal property. Include any timeshare
   interests. State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or
   lessee ofa lease. Provide the names and complete mailing addresses ofall other parties to each lease or contract described. If
   a minor child is a party to one ofthe leases or contracts, state the child's initials and the name and address of the child's parent
   or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C. § 112 and
   Fed. R. Bankr. P. IOO7(m).

r.g{heck this box if debtor has no executory contracts or unexpired leases.


         NAME AND MAILING ADDRESS,                                      DESCRIPTION OF CONTRACT OR LEASE AND
             INCLUDING ZIP CODE,                                         NATURE OF DEBTOR'S INTEREST. STATE
   OF OTHER PARTIES TO LEASE OR CONTRACT.                               WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                           REAL PROPERTY. STATE CONTRACT
                                                                        NUMBER OF ANY GOVERNMENT CONTRACT.
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B 6H (Official Fo~) (12/07)

In re          :JI¥ N f/1L                                                                       CaseN~      ________________________
                        Debtor                                                                                            (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in ajoint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement ofthe case, identify the name of the debtor's spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement ofthis case. rfa minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's,name. See, II U.S.C. §112 and Fed. R. Bankr. P. lOO7(m).

~heck this box ifdebtor has no codebtors.
               NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR
               Case 8-09-76782-reg                 Doc 1        Filed 09/11/09           Entered 09/11/09 09:43:30


861 (Omcial Form 6JWl/07)
    In re             ..J M-rJ 1\( L                                                         Case No. _ _ _ _ _ _-:-_ _:--_ __
                         Debtor                                                                                            (irknown)


                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
    The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not ajoint petition is
    filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
    calculated on this fonn may differ from the current monthly income calculated on Fonn 22A, 22B, or 22C.


      Debtor's Marital                                            DEPENDENTS OF DEBTOR AND SPOUSE
      Status:
                            RELATIONSHlP(S):                                                                               AGE(S):

       Employment:                                   DEBTOR                                                       SPOUSE
     . Occupation
      Name or hmployer
      now long "k'~'--
      Address of Employer



    INCOME: (Estimate of average or projected monthly income at time          DEBTOR                      SPOUSE
                 case filed)
                                                                              $                           $
    I. Monthly gross wages, salary, and commissions
        (Prorate ifnot paid monthly)                                          $                           $
    2. Estimate monthly overtime

    3. SUBTOTAL

    4. LESS PAYROLL DEDUCTIONS
                                                                              I   $                           $

       a. Payroll taxes and social security                                   $                           $
       b. Insurance                                                           $                           $
       c. Union dues                                                          $                           $
       d. Other (SpecifY): _ _ _ _ _ _ _ _ _ _ _ __                           $                           $

    5. SUBTOTAL OF PAYROLL DEDUCTIONS
                                                                                                              $
    6. TOTAL NET MONTHLY TAKE HOME PAY                                                                        $
                                                                              I:
    7. Regular income from operation of business or profession or farm     $                              $
         (Attach detailed statement)
    8. Income from real property                                           $                              $
    9. Interest and dividends                                              $                              $
    10. Alimony, maintenance or support payments payable to the debtor for
                                                                           $                              $
           the debtor's use or that ofdependents listed above
    II. Social security or government assistance
         (SpecifY):,_:--_-:--_ _ _ _ _ _ _ _ __
                                                                           $                              $
    12. Pension or retirement income
    13. Other monthly income                                               $                              $
           (Specify):_ _ _ _ _ _ _ _ _ _ _ _ __                            $                              $




                                                                             I:
    14. SUBTOTAL OF LINES 7 THROUGH 13                                                                    $

    15. AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14)                                            $

   16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                  $
   totals from line 15)                                 (Report also on Summary of Schedules and, ifapplicable,
                                                        on Statistical Summary of Certain Liabilities and Related Data)

   17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J~/07)
           I
                              ~ M-""~t(...
               nre __________________________       ~";'(d'______
                                                             ~

                                                                                                                 Case No. _ _ _ _ _ _ _ _ __
                                  Debtor                                                                                       (if known)


               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any payments mad
weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this fonn may differ from the deductions from income
allowed on Fonn22A or 22C.

         Check this box ira joint petition is filed and debtor's spouse maintains a separate household, Complete a separate schedule ofexpenditures labeled "Spouse."

                                                                                                                                                      $ _ _ __
I. Rent or home mortgage payment (include lot rented for mobile home)
    a. Are real estate taxes included?          Yes              No _ __
    b, Is property insurance included?          Yes ____         No ____
                                                                                                                                                      $ _ _ _ __
2. Utilities: a, Electricity and heating fuel
              b. Water and sewer                                                                                                                      $ _ _ _ __

              c, Telephone                                                                                                                            $ _ _ _ __
              d.Other _________ ______________________                                                                                                $ _ _ _ __
3. Home maintenance (repairs and upkeep)                                                                                                              $ _ _ _ __

4. Food                                                                                                                                               $ _ _ _ _ ___

5. Clothing                                                                                                                                           $ _ _ _ ___

6, Laundry and dry cleaning                                                                                                                           $ _ _ _ __

7. Medical and dental expenses                                                                                                                        $ _ _ _ __

8, Transportation (not including car payments)                                                                                                        $ _ _ _ __
9, Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                   $ _ _ _ __
IO,Charitable contributions                                                                                                                           $ _ _ _ __

II.lnsurance (not deducted from wages or included in home mortgage payments)
         a. Homeowner's or renter's                                                                                                                   $ _ _ _ __

        b. Life                                                                                                                                       $ _ _ _ __

        c. Health                                                                                                                                     $ _ _ _ __

        d. Auto                                                                                                                                       $ _ _ _ __
        e.Other ______________________________________                                                                                                $ _ _ _ __

12. Taxes (not deducted from wages or included in home mortgage payments)
(Specity) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                          $ _ _ _ __

13. Installment payments: (In chapter II, 12, and 13 cases, do not list payments to be included in the plan)
        a. Auto                                                                                                                                       $ _ _ _ __
        b.Other _______________________________________                                                                                               $ _ _ _ __
        c.Other _____________________________________                                                                                                 $ _ _ _ __

14. Alimony, maintenance, and support paid to others                                                                                                  $_---­
IS. Payments for support ofadditional dependents not Iiv ing at your home                                                                             $ _ _ _ __

16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                      $ _ _ _ __
17.0ther ____________________________________                                                                                                         $
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
    if applicable, on the Statistical Summary ofCertain Liabilities and Related Data.)
                                                                                                                                                  $
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:



20. STATEMENT OF MONTHLY NET INCOME
    a. Average monthly income from Line 15 ofSchedule I                                                                                               $,----­
    b. Average monthly expenses trom Line 18 above                                                                                                    $,_ _ _ __

    c. Monthly net income (a. minus b.)                                                                                                               $,_ _ _ __
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 86 Declaration (Official   Fo~    • Declaration) (12/07)

              In re         ...J liN /t1l
                                        Debtor
                                                     9,,,, G    /J                                                     Case No.
                                                                                                                                                  (if known)




                            DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                            DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting 01' _ _ sheets, and that they are true and correct to the best of
 my knowledge, information, and belief.


 Date
                      qll'fc~                                                                        Signature:


 Date ._ _ _ _ _ _ _ _ _ _ __                                                                        Signature:
                                                                                                                                          (Joint Debtor, ifany)

                                                                                                          [If joint case. both spouses must sign.]


                          DECLARAnON AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

    I declare under penalty of perjuty that: (I) I am a bankruptcy petition preparer as defined in I I U,S,C. § 110; (2) I prepared this document for compensation and have provided
 the debtor with a copy of this document and the notices and information required under II U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
 promulgated pursuant to 11 U.S.c. § II O(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
 amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

          '~ I>Ml               ~ ~ Ct f1                                                 ~qo ~                S'c .f1:.
Printed or Typed Name and Title, if any,                                             Social Security No.
of Bankruptcy Petition Preparer                                                      (ReqUired by II U.S.c. § 110.)




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

Ifmore than one person prepared this document, auach additional signed sheets conforming to the appropriate Official Form for each person.


A hankn.ptcy pelitllm preparer's[ailure to comply with the provi.f/(m,~ ortttle II and .he Federal Rille.. (J{Bankn'ptt:y Procedure may re.,ultm./ines or IIl1pfl.WJnme/lt or noth. II US.c. § I/O;
18 USC § 156.



                   DECLARA TION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORA TION OR PARTNERSHIP


     1. the                                         [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership] of the                                            [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of ~ __ sheets (Total shown on summary page plus I), and that they are true and correct to the best of my
knowledge, information. and belief.


Date _ _ _ _ _        ~   _ _ _ _ _ _.______
                                                                                         Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __



                                                                                                         {Print or type name of individual signing on behalf of debtoL]


/An individual signing on behalfofa partnership or corporalton must indicate pOSition Of' relationship to debtor]


Penalty/or making afalse statement or concealing property.' Fine of up to $500,000 or imprisonment for np to 5 years or both. 18 U                          .s.c. §§ 152 and 3571.
       Case 8-09-76782-reg                  Doc 1         Filed 09/11/09            Entered 09/11/09 09:43:30




B 7 (Official Fonn 7) (12107)

                          UNITED STATES BANKRUPTCY COURT


              JMIJAtL             ~1J(i~1
In re:_ _ _ _ _-=-:-_ _ _ _ _ _ _ _ _ _ _,                                CaseNo. _ _ _~~-~----------




                                     STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.c.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions I - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None," If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number ofthe question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form ifthe debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose ofthis form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

            "Insider.1/ The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. II U.S.c. § 101.


            1.    Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
IS]         the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not ajoint petition is filed, unless the
            spouses are separated and ajoint petition is not filed.)

                         AMOUNT                                                      SOURCE
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                                                                                                                                     2

         2.   Income other than from employment or operation of business

         State the amount of income received by the debtor other than from employment, trade, profession, operation of the
         debtor's business during the two years immediately preceding the commencement of this case. Give particulars. Ifa
         joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
         must state income for each spouse whether or not ajoint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)

                   AMOUNT                                                                   SOURCE




         J.   Payments to creditors

          Complete a. or b., as appropriate, and c.

          a. Individual orjoint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of aLi property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

              NAME AND ADDRESS OF CREDITOR                   DA TES OF            AMOUNT               AMOUNT
                                                             PAYMENTS             PAID                 STILL OWING




None
o        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
         within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                             DATES OF                  AMOUNT               AMOUNT
                                                                   PAYMENTSI                 PAID OR              STILL
                                                                   TRANSFERS                 VALUE OF             OWING
                                                                                             TRANSFERS
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                                                                                                                                     3
None

o        c. All debtors: List all payments made within one year immediately preceding the commencement of this case
         to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         ajoint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                 DATE OF              AMOUNT              AMOUNT
               AND RELATIONSHIP TO DEBTOR                   PAYMENT              PAID                STILL OWING




          4. Suits and administrative proceedings, executions, garnishments and attachments

          a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
          preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
          information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
          and a joint petition is not filed.)

               CAPTION OF SUIT                                                   COURT OR AGENCY                STATUS OR
               AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION




None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
o         year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
          must include information concerning property of either or both spouses whether or not ajoint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS                                                                       DESCRfPTlON
               OF PERSON FOR WHOSE                           DATE OF                                  AND VALUE
               BENEFIT PROPERTY WAS SEIZED                   SEIZURE                                  OF PROPERTY




          5.   Repossessions, foreclosures and returns

          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
          of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                        DATE OF REPOSSESSION,                         DESCRIPTION
               NAME AND ADDRESS                         FORECLOSURE SALE,                             AND VALUE
               OF CREDITOR OR SELLER                    TRANSFER OR RETURN                            OF PROPERTY
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                                                                                                                                    4

         6.   Assignments and receiverships

         a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
         either or both spouses whether or not ajoint petition is filed, unless the spouses are separated and a joint petition is not
         filed.)

                                                                                                      TERMS OF
              NAME AND ADDRESS                          DATE OF                                       ASSIGNMENT
              OF ASSIGNEE                               ASSIGNMENT                                    OR SETTLEMENT




None     b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
o        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
         include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)

                                             NAME AND LOCATION                                                   DESCRIPTION
              NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
              OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY




         7.   Gifts

         List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
         except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
         and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
         chapter \3 must include gifts or contributions by either or both spouses whether or not ajoint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS                    RELA TIONSHIP                                                       DESCRIPTION
         OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
         OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT




         8.   Losses

         List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
         of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
         include losses by either or both spouses whether or not ajoint petition is filed, unless the spouses are separated and a
         joint petition is not filed.)

         DESCRIPTION                     DESCRIPTION OF CIRCUMSTANCES AND, IF
         AND VALUE OF                    LOSS WAS COVERED IN WHOLE OR IN PART                                    DATE
         PROPERTY                        BY INSURANCE, GIVE PARTICULARS                                          OF LOSS
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                                                                                                                                     5


           9.   Payments related to debt counseling or bankruptcy

None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
o          consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
           within one year immediately preceding the commencement of this case.

                                                         DATE OF PAYMENT,                    AMOUNT OF MONEY OR
           NAME AND ADDRESS                              NAME OF PAYER IF                    DESCRIPTION AND
           OF PAYEE                                      OTHER TH~~BTOR                      VALUE OF PROPERTY

       CU·{A.lPfr1 CI                                             0 f / v / 0'1                            \2>.
                                                                  c./'!11'~
           10. Other transfers

            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
           the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
           this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
           whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

           NAME AND ADDRESS OF TRANSFEREE,                                         DESCRIBE PROPERTY
           RELATIONSHIP TO DEBTOR                                                  TRANSFERRED AND
                                                                    DATE           VALUE RECEIVED


None

o          b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
           to a self-settled trust or similar device of which the debtor is a beneficiary.

           NAME OF TRUST OR OTHER                        DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
           DEVICE                                        TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR'S
                                                                                   INTEREST IN PROPERTY




           11. Closed financial accounts

           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
           closed, sold, or otherwise transferred within one year immediately preceding the commencement ofthis case. Include
           checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
           held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
           institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
           instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

                                               TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
           NAME AND ADDRESS                    DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
           OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING
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                                                                                                                              6

    12. Safe deposit boxes

    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
    within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
    chapter 13 must include boxes or depositories of either or both spouses whether or not ajoint petition is filed, unless
    the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                   NAMES AND ADDRESSES                 DESCRIPTION         DA TE OF TRANSFER
    OF BANK OR                         OF THOSE WITH ACCESS                OF                  OR SURRENDER,
    OTHER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS            IF ANY




    13. Setoffs

    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
    the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
    concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
    petition is not filed.)

                                                                 DATE OF                  AMOUNT
    NAME AND ADDRESS OF CREDITOR                                 SETOFF                   OF SETOFF




        14. Property held for another person

~   List all property owned by another person that the debtor holds or controls.


    NAME AND ADDRESS                         DESCRIPTION AND
    OF OWNER                                 VALUE OF PROPERTY                                 LOCA TION OF PROPERTY




    15. Prior address of debtor


    If debtor has moved within three years immediately preceding the commencement ofthis case, list all premises
    which the debtor occupied during that period and vacated prior to the commencement of this case. If ajoint petition is
    filed, report also any separate address of either spouse.

    ADDRESS                                  NAME USED                             DATES OF OCCUPANCY
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                                                                                                                                     7


         16. Spouses and Former Spouses

None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
~        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
         years immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
         any former spouse who resides or resided with the debtor in the community property state.

         NAME




         17. Environmental Information.

         For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
         releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
         other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
         or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
         formerly owned or operated by the debtor, including, but not limited to, disposal sites.

         "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
         material, pollutant, or contaminant or similar term under an Environmental Law.


         a. List the name and address of every site for which the debtor has received notice in writing by a governmental
         unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
         governmental unit, the date ofthe notice, and, if known, the Environmental Law:

              SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
              AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW




None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
o        of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

              SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
              AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW




None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
o         respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
          to the proceeding, and the docket number.

              NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
              OF GOVERNMENTAL UNIT                                                          DISPOSITION




          18. Nature, location and name of business

          a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
          and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
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                                                                                                                                      8

          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
              and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
              the voting or equity securities, within six years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                  BEGINNING AND
               NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                               TAXPAYER-I.D. NO.
                               (lTIN)/ COMPLETE EIN




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
o         defined in 11 U.S.c. § 101.

               NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or jOint debtor should complete this portion ofthe statement only if the debtor is or has been in
business. as defined above. within six years immediately preceding the commencement ofthis case. A debtor who has not been
in business within those six years should go directly to the signature page.)




          19. Books, records and financial statements

(!?//     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
          bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

               NAME AND ADDRESS                                                               DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
o         case have audited the books of account and records, or prepared a financial statement of the debtor.

               NAME                                      ADDRESS                              DATES SERVICES RENDERED
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                                                                                                                                   9

None     C,List all firms or individuals who at the time ofthe commencement of this case were in possession ofthe
o        books ofaccount and records of the debtor, Ifany of the books of account and records are not available, explain,

              NAME                                                                         ADDRESS




None     d, List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
o        financial statement was issued by the debtor within two years immediately preceding the commencement of this case,

                   NAME AND ADDRESS                                                              DATE ISSUED




         20. Inventories

         a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
         taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                                 DOLLAR AMOUNT
                                                                                                 OF INVENTORY
                   DATE OF INVENTORY                INVENTORY SUPERVISOR                         (Specify cost, market or other
                                                                                                 basis)




None     b, List the name and address of the person having possession of the records of each ofthe inventories reported
o        in a., above.

                                                                                                 NAME AND ADDRESSES
                                                                                                 OF CUSTODIAN
                   DATE OF INVENTORY                                                             OF INVENTORY RECORDS




         21 • Current Partners, Officers, Directors and Shareholders

              a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
              partnership.

              NAME AND ADDRESS                          NATURE OF INTEREST              PERCENTAGE OF INTEREST




None          b.    If the debtor is a corporation, list all otlicers and directors of the corporation, and each stockholder who
o             directly or indirectly owns, controls, or holds 5 percent or more ofthe voting or equity securities of the
              corporation.
                                                                                            NATURE AND PERCENTAGE
                    NAME AND ADDRESS                                  TITLE                    OF STOCK OWNERSHIP
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                                                                                                                                  10

          22 • Former partners, officers, directors and shareholders

          a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
          preceding the commencement of this case.

              NAME                                            ADDRESS                   DATE OF WITHDRAWAL




None      b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
o         within one year immediately preceding the commencement ofthis case.

                    NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION




          23 • Withdrawals from a partnership or distributions by a corporation

None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
!]I..-'   including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
          during one year immediately preceding the commencement of this case.

                    NAME & ADDRESS                                                          AMOUNT OF MONEY
                    OF RECIPIENT,                             DATE AND PURPOSE              OR DESCRIPTION
                    RELATIONSHIP TO DEBTOR                    OF WITHDRAWAL                 AND VALUE OF PROPERTY




          24. Tax Consolidation Group.

          If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
          consolidated group for tax purposes of which the debtor has been a member at any time within six years
          immediately preceding the commencement of the case.

              NAME OF PARENT CORPORATION                      TAXPAYER-IDENTIFICA TlON NUMBER (EIN)




          25. Pension Funds.

          If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
          which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
          preceding the commencement of the case.

               NAME OF PENSION FUND                     TAXPAYER-JDENTIFICA TION NUMBER (EIN)




                                                          *   * * * * *
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                                                                                                                                                            11

            {If completed by an individual or individual and spouse1

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
            and any attaclunents thereto and that they are true and correct.


                                                                                   Signature
            Date                                                                   of Debtor

                                                                                   Signature of
                                                                                   Joint Debtor
            Date                                                                    (if any)




            [Ifcompleted on behalfofa portnership or corporation]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief.



            Date                                                                   Signature

                                                                                   Print Name and
                                                                                   Title

                      [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor, I



                                                                 _continuation sheets attached


                 Penallyfor making a folse statement: Fine o/up to S5QQ,QOQ or imprisonment for up /0 5 years, or both. 18 U.S,c, §§ 152 and 3571



            DECLARATION AND SIGNATURE OF NON·ATTOR."IEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

   I declare under penalty of perjury that: (1) I am a hankruptcy petition preparer as defined in II US,C, § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under II U,S,C, §§ II00b), llO(h), and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to II US,C, § llO(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section,




  Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                Social.Security No, (Required by II U,S,C, § 110,)

If the bankruptcy petition preparer is not an individual, stale the name, title (if any), address, and SOCial-security number ofthe officer, principal,
responsible person, or partner who signs this document,



   Ilr
  Address



  Signature of Bankruptcy Petition Preparer                                               Date

Names and Social· Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual;

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer'sfailure to comply with the provisions oftilk 11 and the Federal Rules ofBankruptcy Procedure may result in
fines or imprisonment or both, 18 u.s.c. § 156.
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                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK
                                               www.nyeb.uscourts.gov


                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE l073-2(b)


DEBTOR(S):_----":J=<.....:M_tJ_A_'_t_ _ _              S1_j...>_G--'-{.~_ _ _ _ _ CASE NO.: 0 ~ --1' {« ~ 1: sc.
        Pursuant to Local Bankruptcy Rule l073-2(b), the debtor (or any otller petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes ofE.D.N.Y. LBR 1073-1 and E.D.N. Y. LBR 1073-2 ifthe earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.c. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general
partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that
was or is included in the property of another estate under] 1 U.S.c. § 541(a).)

~O RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
o THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:
1. CASE NO.: _ _ _ _ _ _ _ JUDGE:_ _ _ _ _ _ _ _ DISTRICTfDIVISION:_ _ _ _ _ _ _ _ __

CASE STILL PENDING (Y/N):_ _                  [if clo.~edl Date of closing:

CURRENT STATUS OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED




2. CASE NO.: _ _ _ _ _ _ _ JUDGE:_ _ _ _ _ _ _ _ DISTRICTfDIVISION:_ _ _ _ _ _ _ __

CASE STILL PENDING (Y/N): _ _                 [if closed) Date of closing: _ _ _ _ __

CURRENT STATUS OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE UOfJOVI:J; _ _ _ _ _ _ _ _,. _ _ _ _ _ _ _ __

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED
IN SCHEDULE "A" OF RELATED




                                                                (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)



3. CASE NO.: _ _ _ _ _ _ __                      ._ _ _ _ _ _ _ _ DlSTRICTIDIVISION:_ _ _ _ _ _ _ __

CASE STILL PENDING (Y/N): _ _                lif closedJ Date of c1osing:_ _ _ _ _ __
CURRENT STATUS OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED
IN SCHEDULE "An OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




NOTE: Pursuant to 11 U.S.c. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTORIPETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y /N):_ _


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.



Signature of Debtor's Attorney                                         Signature of Pro Se DebtorlPetitioner


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                                                                       City, State, Zip Code
                                                                                     (9(J ) 1(J~ -           4'6' ~
                                                                        Area Code and Telephone Number


Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the
debtor or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the
appointment of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.



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B 201 (12/08)
                                UNITED STATES BANKRUPTCY COURT

                    NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                             OF THE BANKRUPTCY CODE
         In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (I)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot
give you legal advice.                                                                          '

        Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed front the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit CounseHng Agencies

         With Hmited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefmg that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trusteel))r bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget
and credit counseling agencies. Each debtor in a joint case must complete the briefing.

         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters ofthe Bankruptcy Code A vaUable to Individual Consumer Debtors

          Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence
and family size, in some cases, creditors hav,e the right to file a motion requesting that the court dismiss your case under §
707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
not discharged.
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           B 201                                                                                                            Page 2

         Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
         I. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
dollar amounts set forth in the Bankruptcy Code.
         2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
         3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

         Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter II is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter II petition should be reviewed with an attorney.

         Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family'farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
peIjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employed of the Department cf Justice.

WARNING: Section 521 (a)( 1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
local rules of the court.
                                 Certificate of [Non-Attorney) Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor this
notice required by § 342(b) of the Bankruptcy Code.

       1tJv¥                  ~,.; c(,/
Printed name and title, if any, of Bankruptcy Petition Preparer
                                                                                             (} ru <If         r6 7G
                                                                                    Social Security number (If the bankruptcy petition
Addres~~              rl fr    /)J'ty   A   cle1                                    preparer is not an individual, state the Social Security

~_---~{:_(" ~I_.~_~"cln
                                                                                    number of the officer, principal, responsible person, or
  __                                                                                partner of the bankruptcy petition preparer.) (Required
                                                                                    by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.


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Printed Name(s) of Debtor(s)
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                                                                           Signat~'Debto~r;;;"'-oG~~~~
Case No. (if known)    04--.Kl((2-- 7- ~ C
                                                                          Signature of loint Dcbtor (if any)    Date
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819 (Official Form 19) (12/07)


                          U.nnited   States Bankruptcy <r~urt.
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                                          District Of iJhv }tfL-t:­
                                                                                (j
                                                             Case No.       (J ~ -    1(1-9t -·75t
                               Debtor
                                                             Chapter   _J-ls_
                   DECLARATION AND SIGNATURE OF NON-ATTORNEY
                   BANKRUPTCY PETITION PREPARER (See 11 U.S.c. § 110)

        I declare under penalty of perjury that: (l) I am a bankruptcy petition preparer as defined
in II U.S.c. § 110; (2) I prepared the accompanying document(s) listed below for compensation
and have provided the debtor with a copy of the document(s) and the attached notice as required
by 11 U.S.C. §§ 11O(b), IlO(h), and 342(b); and (3) if rules or guidelines have been promulgated
pursuant to 11 U.S.c. § II O(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any
document for filing for a debtor or accepting any fee from the debtor, as required by that section.

 Accompanying documents:                                   Printed or Typed Name and Title, if any, of
                                                           BankruP1':Y P.etition Prepa. r.er:
                                                                  r.LlJDl/iL         <;; (tV 6(.f
                                                           Social-Security No. of Bankruptcy Petition
                                                           Prepart;.( lRequired. ~ 11 U.S.c. § 110):
                                                                 UKo          V¥,M1t

If the bankruptcy petition preparer is not an individual, state the name,
                                                                        title (if any), address,
and social-security number ofthe officer, principal, responsible person, or partner who signs

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Signa ure     0    an rup cy             reparer    Date
Names and social-security numbers of all other individuals who prepared or assisted in preparing
this document, unless the bankruptcy petition preparer is not an individual:

flmore than one person prepared this document, attach additional signed sheets conforming to the
appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal
Rules of Bankruptcy Procedure may result in fines or imprisonment or both. I I U.S.c. § 110; 18
U.S.c. § 156.
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819 (Official Form 19) (12/07) - Cont.                                                        2

    NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER
        [Must be filed with any document(s) prepared by a bankruptcy petition preparer.]

        I am a bankruptcy petition preparer. I am not an attorney and may not practice law or give
legal advice. Before preparing any document for filing as defined in § II 0(a)(2) of the Bankruptcy
Code or accepting any fees, I am required by law to provide you with this notice concerning
bankruptcy petition preparers. Under the law, § 110 of the Bankruptcy Code (11 U.S.c. § 110), I am
forbidden to offer you any legal advice, including advice about any of the following:

        whether to file a petition under the Bankruptcy Code (11 U.S.c. § 101 et seq.);
        whether commencing a case under chapter 7, I I, 12, or 13 is appropriate;
        whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;
        whether you will be able to retain your home, car, or other property after commencing a case
        under the Bankruptcy Code;
        the tax consequences of a case brought under the Bankruptcy Code;
        the dischargeability oftax claims;
•       whether you mayor should promise to repay debts to a creditor or enter into a reaffirmation
        agreement with a creditor to reaffirm a debt;
        how to characterize the nature of your interests in property or your debts; or
        bankruptcy procedures and rights.

[The notice may provide additional examples oflegal advice that a bankntptcy petition preparer is
not authorized to give.]

         In addition, under I I U.S.c. § llO(h), the Supreme Court or the Judicial Conference of the
United States may promulgate rules or guidelines setting a maximum allowable fee chargeable by a
bankruptcy petition preparer. As required by law, I have notified you of this maximum allowable
fee, if any, before p    ring any document for filing or accepting any fee from you.

~'J                              J
                                         er /'.(0'"
Signature of Debtor                  Date                 Joint Debtor (if any)    Date

[In ajoint case, both spouses must sign.]
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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NEW YORK



------------------------------------------------------------x
In Re:




                                                                     Chapter (   S
                          Debtor(s)
------------------------------------------------------------x



     VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.




                                                      Joint Debtor



                                                      Attorney for Debtor




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                          HSBC BANK USA
                         C/O Steven Baum PC
                            P.O. Box 1291
                          Buffalo, NY 14240.
